                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   CHICAGO DIVISION
IN RE:                                         )
VICTORIA MICHELLE DE LA CRUZ                   )        CAUSE NO: 13-00754
JULIO DE LA CRUZ                               )        CHAPTER 13
                      DEBTORS                  )



                           U.S. BANK NATIONAL ASSOCIATION
                             OBJECTION TO CONFIRMATION
                                  OF CHAPTER 13 PLAN

Creditor, U.S. Bank National Association, as Trustee under the Pooling and Servicing

Agreement, dated as of June 1, 2004, among Citigroup Mortgage Loan Trust Inc., National City

Mortgage Co. and U.S. Bank National Association. A secured claimant in the above-captioned

Chapter 13 bankruptcy objects to the Debtors’ Chapter 13 Plan for the following reasons:

       1.      On June 24, 2003, Debtors’ signed a Note (“Note”). A copy is attached as Exhibit

“A”.

       2.      The Note is secured by a recorded mortgage of property more commonly known

as 1129 N Harvey Ave, Oak Park, IL 60302. A copy is attached as Exhibit “B”.

       3.      Debtors’ filed a proposed Chapter 13 Plan that understates the pre-petition

arrearage as of the date of filing. According to the Creditor, the pre-petition arrearage is

$147,059.51.

       4.      If the Chapter 13 Plan is confirmed, Creditor’s interest will not be adequately

protected and the full value of the collateral will not be recovered.




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       WHEREFORE, U.S. Bank National Association, as Trustee under the Pooling and

Servicing Agreement, dated as of June 1, 2004, among Citigroup Mortgage Loan Trust Inc.,

National City Mortgage Co. and U.S. Bank National Association, Prays that the Chapter 13 Plan

of the Debtors’ be denied and for all other relief just and proper in the premises.




DATED: February 14, 2013                          By: /s/ Phillip A. Pluister
                                                      Phillip A. Pluister, #26544-64
                                                      BURKE COSTANZA & CARBERRY LLP
                                                      9191 Broadway
                                                      Merrillville, IN 46410
                                                      Telephone: (219) 769-1313

                                 CERTIFICATE OF SERVICE
        I certify that on February 14, 2013, service of true and complete copies of the attached
pleading was made upon the following Distribution List herein, by depositing the same in the
United States Mail, in envelopes properly addressed to each of them and with sufficient first
class postage affixed.

                                                  By: /s/ Phillip A. Pluister
                                                      Phillip A. Pluister

Distribution:
Debtors’: Victoria Michelle De La Cruz and Julio De La Cruz, 1129 N. Harvey Avenue, oak
Park, IL 60302
Debtors’ Attorney: Richard G. Fonfrias, 70 West Madison Suite 1400, Chicago, IL 60602
Standing Trustee: Tom Vaughn, 55 E. Monroe Street, Suite 3850, Chicago, IL 60603
U.S. Trustee: Patrick S. Layng, 219 S. Dearborn St., Room 873, Chicago, IL 60604




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